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Case 2:03-cv-02686-.]Pl\/l-tmp Document 63 Filed OB/lO%Page 1 of 3 PagelD 79

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|N THE UN|TED STATES D|STR|CT COURT 1
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\\ '\ `Jl,_. l ' 1-_.
DEBRA PnlcE, noBEnT TucKEn, } W- J~
AUBHEY CAFtl_lSLE, lVlARV|N L. NUTT
and all similarly situated persons, }
Plaintiffs, }
} clvlL AchoN
NO. 03-2686»M|/P
AcOsTA, lNc., }
Defendant. }

 

ORDER ON PLA|NT|FFS’ |VlOT|ON
TO EXPAND CERT|FICAT|ON OF COLLECT|VE ACT|ON

 

Before the Court is Plaintiffs’ Supplemental l\/lotion and l\/lemorandum to Expand
Certification of this Collective Action. Defendant filed its Ftesponse in opposition on
lVlay 5, 2005, and a hearing was held by the Court on Friday, Nlay 6, 2005.

After careful consideration of the facts presented, the arguments of counsel, and
the entire record, the Court believes that Plaintiffs have presented sufficient evidence
for expanding the certification of this collective action Which is at the notice stage of
litigation under Section 216(b) of the Fair Labor Standards Act. Accordingly, this
collective action is expanded to include all persons Who ho|d, or have held, any of the
following job titles With Acosta, lnc. at any time during the time period since September
12, 2000, the date three (3) years prior to the date this action Was filed. These job
titles are: (1) Territory Nlanager; (2) SeniorTerritory lVlanager; (3) Territory

l\/lanager/Reset; (4) Senior Territory l\/lanager/Fteset; (5) Retai| Coverage l\/lerchandiser;

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Case 2:03-cv-02686-.]Pl\/l-tmp Document 63 Filed 05/10/05 Page 2 of 3 PagelD 80

(6) Dedicated Team Retail Coverage Nterchandiser; (7) Store Reset Specialist; (8)
Store Fteset Coordinator; (9) Fietai| Sales Representative; and (10) Category Sales
Fiepresentative. Defendant is to provide Plaintiffs’ attorneys an updated and complete
list of all persons Within the scope of this Order as soon as practicable

The parties are directed to agree on the form, content and process of the Notice
to be sent to prospective class members and to send the Notice Within ten (10) days of
the date this Order is entered. lf the parties are unable to agree on the form, content or
process of the Notice, they may submit any dispute to the Court for resolution.

|T |S SO ORDERED, this 9 day Of May, 2005.

/er lit flint

JO P. l\/lcCALLA
Un ted States District Judge

 

F TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 63 in
case 2:03-CV-02686 Was distributed by faX, mail, or direct printing on
May 10, 2005 to the parties listed.

 

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Honorable .1 on McCalla
US DISTRICT COURT

